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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

  UNITED STATES OF AMERICA
                                                       Case No.: 9:22-MJ-08332-BER-1
  v.

  SEALED SEARCH WARRANT
  _________________________________/

       MIAMI HERALD AND TAMPA BAY TIMES’ MOTION TO INTERVENE FOR THE
       LIMITED PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT COURT
      RECORDS, ADOPTION OF MOTION FOR ACCESS AND MEMORANDUM OF LAW

           The McClatchy Company, LLC d/b/a Miami Herald (the “Miami Herald”) and Times

  Publishing Company d/b/a Tampa Bay Times (the “Tampa Bay Times”) hereby move to intervene

  in this matter for the limited purpose of joining Intervenor The New York Times Company1 in

  seeking to unseal and obtain access to all documents filed with this Court related to the search

  warrant executed on Monday, August 8, 2022, at former President Donald J. Trump’s Mar-a-Lago

  Palm Beach, Florida, club and residence. See ECF 8, 9 (“The Times’ Motion”). The Miami Herald

  and the Tampa Bay Times also hereby adopt this substantive motion for access to court records.

           On August 11, 2022, this Court recognized the right of the news media to intervene in this

  matter, granting The New York Times Company leave to intervene. See ECF 11.2 It further

  ordered the United States to respond to all pending motions to unseal in one omnibus response by

  5:00 p.m. on August 15, 2022. See ECF 12. Thus, granting the instant motion, which raises no

  additional substantive legal arguments beyond those raised in The Times’ Motion, will not




  1
      Along with CBS Broadcasting Inc. (“CBS News”) (see ECF 20).
  2
    On August 12, 2022, the Court granted CBS News’ motion to intervene, along with several
  other news organizations. See ECF 26.
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  prejudice any government response deadlines. Additionally, the Government has now filed a

  motion to unseal limited warrant materials. See ECF 18.

            Additional grounds for this motion are set forth in the below memorandum of law.

                                     MEMORANDUM OF LAW

  I.        The Miami Herald and Tampa Bay Times Have Standing to Intervene.

            The McClatchy Company, LLC d/b/a Miami Herald is a California limited liability

  company which publishes the Miami Herald, a daily newspaper of general circulation. The Miami

  Herald also maintains a news website at www.miamiherald.com. In gathering and reporting news,

  the Miami Herald uses public records, including court records, to inform the public of newsworthy

  events.

            Times Publishing Company is a Florida corporation which publishes the Tampa Bay Times,

  a newspaper of general circulation in the greater Tampa Bay area, and also maintains a news

  website at www.tampabay.com. In gathering and reporting news, the Tampa Bay Times uses

  public records, including court records, to inform the public of newsworthy events.

            Both the Miami Herald and the Tampa Bay Times have reported on President Trump before

  and throughout his presidential administration. They continue to report on President Trump post-

  presidency, including reporting on the August 8, 2022, search warrant execution at Mar-a-Lago.

            The Eleventh Circuit has recognized the news media’s right to intervene in matters to

  challenge the denial of access to court records. See, e.g., United States v. Ellis, 90 F.3d 447, 449

  (11th Cir. 1996), cert. denied, 519 U.S. 1118 (1997); Newman v. Graddick, 696 F.2d 796, 800

  (11th Cir. 1983); see also Globe Newspaper Co. v. Super. Ct., 457 U.S. 596, 609 n.25 (1982) (“the

  press and general public ‘must be given an opportunity to be heard on the question of their




                                                   2
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  exclusion.’” (citation omitted)). Only through intervention can the public’s right to open courts

  and records be vindicated. See Newman, 696 F.2d at 800.

         There is no question that the Miami Herald and the Tampa Bay Times as news

  organizations—like The New York Times Company and other intervenors—have standing to seek

  access to all search warrant records related to the August 8, 2022, events at Mar-a-Lago.

  II.    All Subject Search Warrant Records Should Be Released.

         For all the reasons stated in The Times’ Motion, which are specifically adopted and

  incorporated herein by reference, this Court should unseal all court records related to the subject

  search warrant.

  III.   Conclusion.

         The Miami Herald and the Tampa Bay Times respectfully request that this Court grant this

  motion to intervene and unseal or otherwise make publicly available all search warrant-related

  court records regarding the events of August 8, 2022, at Mar-a-Lago.

                                    REQUEST FOR HEARING

         Pursuant to Local Rule 7.1(b)(2), the Miami Herald and the Tampa Bay Times request a

  hearing be set for this motion.3 Oral argument will aid this Court in assessing any further basis to

  continue to keep these extremely newsworthy records secret and allow this Court to directly

  inquire into any government justification for doing so. The Miami Herald and the Tampa Bay

  Times estimate the time required for argument to be sixty (60) minutes.




  3
    The Miami Herald, the Tampa Bay Times, CBS Broadcasting Inc. and The New York Times
  Company are represented by the same legal counsel in this matter, which would argue concurrently
  for all at any set hearing.
                                                   3
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         LOCAL RULE 7.1(a)(3) CERTIFICATE OF GOOD-FAITH CONFERENCE

         Undersigned counsel for hereby certifies that on the afternoon of August 10, 2022, she

  made reasonable efforts to confer with the Assistant United States Attorney for the Southern

  District of Florida handling the matter, leaving a message with their office about news media

  intervention. She has yet to receive a return telephone call. As set forth in ECF 18, the

  Government does not oppose release of certain search warrant records identified therein.

  Dated: August 12, 2022.                     Respectfully submitted,

                                              THOMAS & LOCICERO PL

                                              /s/ Carol Jean LoCicero
                                              Carol Jean LoCicero (FBN 603030)
                                              Mark R. Caramanica (FBN 110581)
                                              601 South Boulevard
                                              Tampa, FL 33606
                                              Telephone: (813) 984-3060
                                              Facsimile: (813) 984-3070
                                              clocicero@tlolawfirm.com
                                              mcaramanica@tlolawfirm.com
                                              tgilley@tlolawfirm.com
                                              dlake@tlolawfirm.com

                                              Dana J. McElroy (FBN 845906)
                                              915 Middle River Drive, Suite 309
                                              Fort Lauderdale, FL 33304
                                              Telephone: (954) 703-3418
                                              Facsimile: (954) 400-5415
                                              dmcelroy@tlolawfirm.com
                                              bbrennan@tlolawfirm.com

                                             Attorneys for The McClatchy Company, LLC d/b/a
                                             Miami Herald and Times Publishing Company d/b/a
                                             Tampa Bay Times




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                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 12, 2022, a true and correct copy of the foregoing document

  is being electronically filed and will be furnished via CM/ECF. A copy of the foregoing is also

  being served by email and first-class mail, postage paid, to:

         Juan Antonio Gonzalez
         U.S. Attorney’s Office
         Southern District of Florida
         98 NE 4th Street, Floor 8
         Miami, FL 33132-2131
         juan.antonio.gonzalez@usdoj.gov


                                                       /s/ Carol Jean LoCicero
                                                       Carol Jean LoCicero




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